Exhibit B

Case 3:14-cv-00700-RJC-DSC Document 9-2 Filed 02/02/15 Page 1 of 12

FORM B10 (orci ASE ol Azee648 Claim 5-1 Filed 02/22/13 Desc Main Document Page 1 of 2

UNITED STATES BANKRUPTCY COURT Western District of North Carolina

PROOF OF CLAIM

Name of Debtor Jason Vicks Case Number

12-32648

NOTE: Do not use this form te make a claim for an administrative expense that arises after the bankruptcy filing.
You may file a request for payment of an administrative expense according to 11 U.S.C. € 503.

Name of Creditor (the person or other entity to whom the debtor owes money or property):
CFAM FINANCIAL SERVICES, LLC

FILED

U.S. Bankruptcy Court
Western District of NC

Steven T, Salata, Clerk
al22/2013

COURT USE ONLY

Name and address where notices should be sent:
P.O. BOX 601608

DALLAS, TX 75360

Telephone number:214-233-8202 email: MICKY.COLVIN@CFAMLEGAL.OM

(J Check this box if this claim amends a
previously filed claim.

Court Claim Number:
Cf known)

Filed on:

Name and address where payment should be sent (if different from above):

JP MORGAN CHASE (TX-0029)

ATTN: CFAM FINANCIAL SERVICES

BOX #731847

14800 FRYE ROAD, 2ND FLOOR

FT. WORTH, TX 76155

Telephone number:214-233-8202 email: MICKY.COLVIN@CFAMLEGAL.COM

(icheck this box if you are aware that anyone
else has filed a proof of claim reiating to this
claim. Attach copy of statement giving
particulars,

1. Amount of Claim as of Date Case Filed: = $ 6977.89

If all or part of the claim is secured, complete item 4.

if all or part of the claim is entitled to priority, complete item 5.

(2 Cheek this box if the claim includes interest or other charges in addition to the principal amount of the claim. Attach a statement that itemizes interest or charges.

2. Basis for Claim:
(See instruction #2)

MONEY LOANED

3, Last four digits of any number

3a. Debtor may have scheduled account as:
by which creditor identifies debtor:

WELLS FARGO

{See instruction #3a) (See instruction #3))

3b. Uniform Claim Identifier (optional):

4. Secured Claim

(See instruction #4)

Check the appropriate box if the claim is secured by a lien on property or a right of
setoff, attach required redacted documents, and provide the requested information.

Nature of property or right of setoff: [] Real Estate 4 Motor Vehicle () Other
Basis for perfection:

Amount of arrearage and other charges, as of the time case was filed,
included in secured claim, if any:

CERTIFICATE OF TITLE

Describe: 2003 Hh IMMER, H2 - VIN 5SGRGN2Z3\ J23H120

Amount of Secured Claim:
Value of Property: $

Amount Unsecured:
Annual Interest Rate: % £ Fixed or O Variable

(when case was filed)

$ 6977.89

$

the box specifying the priority and state the amount.
[J Domestic support obligations under 11 Wages, salaries, or commissions (up to $11,725*}
U.S.C. §507(a){L)(A) or (a)(1)(B). eamed within 180 days before the case was filed or the

debtor's business ceased, whichever is earlier —
11 U.S.C. §507(a)}(4).

0 Up to $2,600* of deposits toward

purchase, lease, or rental of property or
services for personal, family, or household
use ~ LL U.S.C. § 507(a)(7).

(3 Taxes or penalties owed to governmental units ~
11 ULS.C.§ 507(ax8}.

0 Contributions to an

employee benefit plan — $
11 U.S.C. § 507¢a)(5).

(1) Other — Specify
applicable paragraph of
11 U.S.C. §507(@(_).

5. Amount of Claim Entitled to Priority under 11 U.S.C. §507(a). If any part of the claim falls into one of the following categories, check

Amount entitled to priority:

*Amounts are subject to adjustment on 4/1/13 and every 3 years thereafter with respect to cases commenced on or after the date of adjustment.

6. Credits. The amount of all payments on this claim has been credited for the purpose of making this proof of claim. (See instruction #6)

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Case 12-32648 Claim5-1 Filed 02/22/13 Desc Main Document Page 2 of 2

7. Documents: Attached are redacted copies of any documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running

accounts, contracts, judgments, mortgages, and security agreements, or, in the case of a claim based on an open-end or revolving consumer credit agreement, a statement providing
the information required by FRBP 3001(c\3}(A). If the claim is secured, box 4 has been completed, and redacted copies of documents providing evidence of perfection of a
security interest are attached. If the claim is secured by the debtor's principal residence , the Mortgage Proof of Claim is being filed with this claim. (See instruction #7, and the
definition of "redacted" )

BO NOT SEND ORIGINAL DOCUMENTS, ATTACHED DOCUMENTS MAY BE DESTROYED AFTER SCANNING.

Hf the documents are not available, please explain:

8. Signature: (See instruction #8)

Check the appropriate box.

@ Lam the creditor, [) E am the creditor's authorized agent. 0 Lam the trustee, or the debtor, C) | am a guarantor, surety, indorser, or other codebtor.

(Attach copy of power of attorney, ifany.} or their authorized agent. {See Bankruptcy Rule 3005.)
{See Bankruptcy Rule 3004.)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: DAVID LEONARD
Title: PORTFOLIO MANAGER
Company:
—2EAM FINANCIAL SERVICES LLC
Address and telephone number (if different from notice address above): Ei root of cla j the claim si the creditor hori: ron 2/22/2013
(Signature) {Date}
Telephone number: email:

Penaity for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both, 18 U.S.C, §§ 152 and 3571.

Case 3:14-cv-00700-RJC-DSC Document 9-2 Filed 02/02/15 Page 3 of 12

RETAIL INSTALLMENT SALE CONTRACT

Case 12-32648 > Claim 5-1 Part avssaiteehththsndhigueDesc Attachment 1 ; Page 1 of 2

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‘ NO COOLING OFF PERIOD |

State law dows not provide for a “coating off".or cancellation period for this sale, After you sign this contract,
you may only cancel It If the seiter agrees oy for legal cause. You cannot cancel this contract simply because
you change your mind. This notice not apply to home solicitation gales.

| | The Annual Perdentage Rate may be negotabi with the Seiter, Tha Seller may assign tle contract]

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Case.3:14-cv-00700-RJC-DSC Document 9-2 Filed 02/02/15 Page 4 of 12 '

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OTHER PORTANT AGREEMENTS

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tf we choose, buy physical damage ineurance, F we
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payments, If you pay fale, we may also lake the steps

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break your promises (defauit), we may demand that you

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dlaried againal you or your property, of

+ You break any agreements in this contract,

The amount you will owe wil be the unpaid part of the

Amount Financed plus the aarned and unpaid part of the

Finance Charge, any fate charges, and any amounts doa

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‘Your right to radeem ends when we sell ihe vehicle,

We will sell the vehicle Hf you do not get it back. Ii you
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UW any money is left (Surplus), we will pay It io you unless
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CERTIFICATE OF TITLE

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ESSINGTON PA 19029-0250

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JASON BRYAN VICKS

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INDIAN TRAIL WNC 28079-3420

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Case 12-32648 Claim5-1Part4 Filed 02/22/13 Desc Attachment3 Page 1 of 2

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10/22/2009 Import:Pre Charge-off:Payment Oe 812.27. $0.00
11/18/2009 Import:Pre Charge-off:Payment | a 812.7) $0.00;
12/22/2009 Import:Pre Charge-off:Payment 812.17) ‘40.00:
1/20/2010 Import:Pre Charge-off: Payment 812.17 — $0.00
2/22/2010 Import:Pre Charge-off:Payment - 818.17 7 $0.00}
3/17/2010 Import:Pre Charge-off:Payment 812.17 $0.00
4/21/2010 Import:Pre Charge-off:Payment 812.17 $0.00!
5/21/2010 Import:Pre Charge-off:Payment 812.17 $0.00

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in : Sf Description =~ {Balance |
6/22/2010 Import:Pre Charge-off:Payment 812.17: $0.00
7/30/2010 Import:Pre Charge-off: Payment 813.00) a $0.00
8/23/2010 Import:Pre Charge-off:Payment 812.17 — "$0.00
10/13/2010 Import:Pre Charge-off:Payment 1623.51 $0.00
1/21/2011 Import:Pre Charge-off:Payment 2460.51 $0.00
4/21/2011 Import:Pre Charge-off:Payment 1624.34 $0.00
4/21/2011 Impeort:Pre Charge-off:Payment Reversal ~1624,34 $0.00
4/29/2011 Import:Pre Charge-off:Payment 812.17; $0.00
6/7/2011 Import:Pre Charge-off:Payment - 2450.00 $0.00
6/28/2011 Import:Pre Charge-off: Payment 812.17, $0.00
8/31/2011 Import:Pre Charge-off: Payment 1624.34 $0.00
8/31/2011 Import:Pre Charge-off:Payment Reversal ~1624,34 $0.00
10/31/2011 Impert:Pre Charge-off:Charge-Off 14002.06 $0.00
nyy2011 WellsFargo PMT a 3000.00 $0.00
11/9/2011 Import:Post Charge-off: Western Union 3000.00. $0.00
12/1/2011 WellsFargo PMT — 81217, $0.00
12/15/2011 Import:Post Charge-off:Description Unknown 812. 17 $0.00
1/1/2012 WellsFargo PMT 812.00 $0.00
1/27/2012 Import:Post Charge-off: Western Union 812,00 $0.00
3/1/2012 WellsFargo PMT 900.00 $0.00:
3/27/2012 Import:Post Charge-off:Western Union 900.00 $0.00,
5/29/2012 CFAM Starting Account Balance 0.00 $8,477.89.
8/20/2012 CFAM Payment ~ Wire Transfer, Ref #: 1500.00 - . $6,977.89

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LIMITED POWER OF ATTORNEY

Reference is made to that certain Purchase Agreement ("Purchase Agreement”) dated as of
June 12, 2012, by and between Wells Fargo Bank, N.A. ("\WFB"), and the State Affiliates of
Wells Fargo Financial, Inc., signatory thereto (collectively with WFB, “Sellers” or "Principals’)
and CFAM Financial Services, LLC (“Buyer’ or “Attorney-in-Fact’).

KNOW ALL MEN BY THE PRESENTS THAT the Principals hereby make, constitute and
appoint Buyer (or any of its authorized agents, officers, employees or representatives) as
Principals’ true and lawful attorney-in-fact, with full power of substitution, for the limited
purposes of (a) receiving, endorsing, depositing and collecting any checks, drafts, money orders
or other instruments or other forms of payment received from or on behalf of Obligors or from
insurance companies, vendors or third parties under Receivables sold by the Principals to
Attorney-in-Fact under the Purchase Agreement, (b) executing on behalf of Principal, or
enforcing, releasing, modifying and transferring the rights, privileges and interests of Principal
with respect to the Receivables, and (c) transferring or releasing titles, security interests, or liens
on the motor vehicles that secure the Receivables.

All acts for or on behalf of Principals by Attorney-in-Fact pursuant to the limited authority
granted hereby shall be with the same force and effect as if the same had been done by the
Principals. Principals do hereby intend that this power of attorney be coupled with an interest
and declare this power of attorney to be irrevocable notwithstanding any reason whatsoever,
including without limitation any Principal's dissolution, merger, consolidation or any other
change in such Principal. Capitalized terms not otherwise defined herein shall have the
meanings ascribed to them in the Purchase Agreement.

This Limited Power of Attorney is subject to the terms and conditions of the aforementioned
Purchase Agreement.

WELLS FAR BANK,
Ne Ue
Name: Alin. x Low
Title: LC ; Dic ots C

For itself and for and on behalf of the other Sellers
under the Purchase Agreement.

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BILL OF SALE
and
ASSIGNMENT OF RECEIVABLES
Pursuant to
PURCHASE AGREEMENT

FOR GOOD AND VALUABLE CONSIDERATION, the receipt and sufficiency of which are
hereby acknowledged, in accordance with that certain Purchase Agreement (“Purchase
Agreement") dated as of June 12, 2012, by and among Wells Fargo Bank, N.A., (“WFB"), and
the State Affiliates of Wells Fargo Financial, inc., signatory thereto (collectively with WFB,
“Sellers"), and CFAM Financial Services, LLC, a Texas limited liability company (“CFAM"), as
the same has been assigned by CFAM to CFAM Auto Capital-XH, |.P., a Texas limited
partnership (“Buyer’}, on and subject to the terms, provisions, conditions, limitations, waivers
and disclaimers and conditions of the Purchase Agreement, Sellers hereby sell, assign, transfer
and convey to Buyer all of Sellers’ right, title and interest and claims arising in and to the
Receivables, which account numbers are identified on Schedule 1 attached hereto and made a
part hereof for all purposes, and all claims and proceeds of any kind with respect to the
Receivables, together with all of Sellers’ right, title and interest in and to the Receivable
Documents. Capitalized terms not otherwise defined herein shall have the meanings ascribed to
them in the Purchase Agreement.

By acceptance of this Bill of Sale and Assignment of Receivables, Buyer hereby acknowledges
that Sellers are making no representation or warranty with respect to the assets being conveyed
hereby except as set forth in the Purchase Agreement. Sellers, for themselves, and their
successors and assigns, hereby covenant and agree that, at any time and from time to time
forthwith upon the written request of Buyer, they will do or cause to be done all of such further
acts and deeds as may reasonably be required by Buyer in order to assign, transfer and convey
unto and vest in Buyer title to the assets sold, conveyed, transferred and delivered by this Bill of
Sale and Assignment of Receivables.

IN WITNESS WHEREOF, WFEB, for itself and for and on behalf of the other Sellers under the
Purchase Agreement, has executed this Bill of Sale and Assignment of Receivables as of June

13, 2012, to be effective as of the Closing Date.
WELLS FAB
y: d

B wv,
Name: Akin Eig:
Title: i, fe O11 ts CT

For itself and for and on behalf of the other Sellers
under the Purchase Agreement

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UNITED STATES BANKRUPTCY COURT Western District of North Carolina

PROOF OF CLAIM

Name of Debtor Jason Vicks Case Number

12-32648

FILED

U.S. Bankruptcy Court

NOTE: Do not use this form to make a claim for an administrative expense that arises after the bankruptcy filing.
You may file a request for payment of an administrative expense according to 17 U.S.C. § 503.

Western District of NC
Steven T. Salata, Clerk

Name of Creditor (the person or other entity to whom the debtor owes money or property):
CFAM FINANCIAL SERVICES, LLC

3/19/2013

COURT USE ONLY

Name and address where notices should be sent:
P.O. BOX 601608

DALLAS, TX 75360

Telephone number:214-233-8202 email: MICKY.COLVIN@CFAMLEGAL.COM

Check this box if this ciaim amends a
previously filed claim.

Court Claim Number: 5
(if known}

Filed on: 02/22/2013

Name and address where payment should be sent (if different from above):
PAY TO: CFAM FINANCIAL SERVICES, LLC

MAIL TO: JP MORGAN CHASE (TX-0029)

ATTN: CFAM FINANCIAL SERVICES

BOX #731847, 14800 FRYE RD, 2ND FLOOR

FORT WORTH, TX 76155

Telephone number:214-233-8202 email:MICKY.COLVIN@CFAMLEGAL.COM

OCheck this box if you are aware that anyone
else has filed a proof of claim relating to this
claim. Attach copy of statement giving
particulars.

1. Amount of Claim as of Date Case Filed:  $ 6977.89

If all or part of the claim is secured, complete item 4.

[fall or part of the claim is entitled to priority, complete item 5,

(1 Check this box if the claim includes interest or other charges in addition to the principal amount of the claim. Atlach a statement that itemizes interest or charges.

2. Basis for Claim:
(See instruction #2)

MONEY LOANED

3. Last four digits of any number
by which creditor identifies debtor:

2001

3a. Debtor may have scheduled account as:

WELLS FARGO

3b. Uniform Claim Identifier (optional):

(See instruction #3a) (See instruction #3b)

4. Secured Claim

(See instruction #4)

Check the appropriate box if the claim is secured by a jien on property or a right of
setoff, attach required redacted documents, and provide the requested information.

Nature of property or right of setoff: (1 Real Estate {4 Motor Vehicle [J Other
Basis for perfection:

Amount of arrearage and other charges, as of the time case was filed,
included in secured claim, if any:

CERTIFICATE OF TITLE

Describe: 2003 HI JMMER H2 - VIN 5GRGN23U23H120

Amount of Secured Claim:
Value of Property: $

Amount Unsecured:
Annual Interest Rate: % [7 Fixed or DF Variable

(when case was filed)

§ 6977.89

$

3, Amount of Claim Entitled to Priority under 11 U.S.C. §507(a). If any part of the claim falls into one of the following categories, check

the box specifying the priority and state the amount.
CO Domestic support obligations under 11 Wages, salaries, or commissions (up to $11,725*)
U.S.C, §507(a)¢1}(A) or (a)(1)(B). eamed within 180 days before the case was filed or the
debtor's business ceased, whichever is earlier —
11 U.S.C. §507(a}(4).

Q Up to $2,600* of deposits toward

purchase, lease, or rental of property or
services for personal, family, or household
use — 11 U.S.C. § 507(a)(7).

OD Taxes or penalties owed to governmental units —
11] U.S.C.§ 507(ax8}.

(] Contributions to an

employee benefit plan — $
11 U.S.C, § 507(a)(5).

Amount entided to priority:

OD Other — Specity
applicable paragraph of
1L U.S.C. §507(a_).

“Amounts are subject to adjustment on 4/1/13 and every 3 years thereafter with respect to cases commenced on or after the date of adjustment.

6. Credits. The amount of all payments on this claim has been credited for the purpose of making this proof of claim. (See instruction #6)

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7. Documents; Attached are redacted copies of any documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running

accounts, contracts, judgments, mortgages, and security agreements, or, in the case of a claim based on an open-end or revolving consumer credit agreement, a statement providing
the information required by FRBP 3001{c)(3)(A). If the claim is secured, box 4 has been completed, and redacted copies of documents providing evidence of perfection of a
security interest are attached. If the claim is secured by the debtor's principal residence , the Mortgage Proof of Claim is being filed with this claim. (See instruction #7, and the
definition of “redacted”

DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER SCANNING.

If the documents are not available, please explain:

8. Signature: (See instruction #8)

Check the appropriate box.

Tam the creditor, (J 1am the creditor's authorized agent. LD) Lam the trustee, or the debtor, OC) lama guarantor, surety, indorser, or other codebtor.

(Attach copy of power of attomey, ifany.) or their authorized agent. (See Bankruptcy Rule 3005.)
(See Bankruptcy Rule 3004.)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: DAVID LEONARD
Title:
Company: PORTFOLIO MANAGER
—CFAM FINANCIAL SERVICES LLC

Address and telephone number (if different from notice address above):

(Signature} (Date)

Telephone number: email:

Penaity for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.

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